                19-11909-mkv                   Doc 3          Filed 06/10/19          Entered 06/10/19 14:50:25                            Main Document
                                                                                     Pg 1 of 1

 Fill in this information to identify the case:
 Debtor name Young Lee Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                 Check if this is an
                                                YORK
 Case number (if known):         19-11909-mkv                                                                                                         amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Capital One                                                     Credit Card                                                                                                      $0.00
 P.O. Box 30285
 Salt Lake City, UT
 84130-0287
 Chase                                                           Loan                                                                                                   $105,943.50
 PO Box 1423
 Charlotte, NC
 28201-1423
 Chase                                                           Credit card                                                                                              $18,000.00
 PO Box 1423
 Charlotte, NC
 28201-1423
 Chase                                                           Credit card                                                                                                $8,500.00
 PO Box 1423
 Charlotte, NC
 28201-1423
 Chase                                                           Credi card                                                                                                 $4,000.00
 PO Box 1423
 Charlotte, NC
 28201-1423
 Ming En Wang                                                    Labor law claims.      Unliquidated                                                                              $0.00
 c/o Troy Law PLLC                                               Action pending in      Disputed
 41-25 Kissena Blvd.                                             SDNY
 Flushing, NY 11355
 NYS Dept. of Tax                                                Sales tax                                                                                                $20,000.00
 and Finance
 Bankruptcy Division
 PO BOX 5300
 Albany, NY 12205




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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